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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

UNITED STATES OF AMERICA

VS.                                      CASE NO: 2:11-cr-120-FtM-29SPC

FRANCIS LEIBMANN

                                     ORDER

       This matter comes before the Court on the Motion by the United

States for Reduction in Sentence Pursuant to Fed. R. Crim. P. 35(b)

(Doc. #302) relating to defendant Francis Leibmann filed on July

21, 2014.       No response or objection has been filed, and the time

to do so has expired.

       Upon review, the Court finds that it does have jurisdiction

to    reduce    defendant’s   sentence,      that   defendant’s    cooperation

qualifies as substantial assistance, and that the motion should be

granted.       The Court is not bound by the government’s recommended

reduction, but has the authority to grant a reasonable reduction

based   upon     its   evaluation   of   factors    related   to   defendant’s

assistance.      United States v. Livesay, 525 F.3d 1081, 1092 (11th

Cir. 2008)(“It remains true that after the government has made a

motion for downward departure pursuant to U.S.S.G. § 5K1.1, the

government has no control over whether and to what extent the

district court will depart from the Guidelines. [ ] The district

court's downward departure need only be reasonable.” (internal
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citation    omitted)).     In    determining    the   extent       of    a    §    5K1.1

departure,      “the   district    court    must    consider       the   five      non-

exclusive § 5K1.1 factors, which are: (1) the usefulness of the

defendant's assistance; (2) the truthfulness and completeness of

the defendant's information and testimony; (3) the nature and

extent of the defendant's assistance; (4) any injury suffered or

risk of injury or danger to the defendant and his family as a

result     of   his    assistance;    and    (5)    the     timeliness        of     the

assistance.”      Livesay, 525 F.3d at 1092.              Other factors may be

considered only if they relate to the assistance provided by

defendant. Id. After considering all the circumstances, the Court

concludes that a six level reduction is reasonable and appropriate.

       Defendant was sentenced to 120 months imprisonment based upon

a mandatory minimum statute.          The starting point for a substantial

assistance departure is the mandatory minimum sentence rather than

a lower guideline range.          United States v. Head, 178 F.3d 1205,

1208 (11th Cir. 1999).          Defendant’s criminal history category is

II, and the first offense level in which 120 months is found is

offense level 29.       The 6 level reduction results in offense level

23;   at   Criminal    History    Category     II   the     resulting        range    of

imprisonment is 51-63 months.          The Court finds that a sentence of

51    months    imprisonment     is   sufficient,     but    not    greater        than

necessary, to comply with the purposes of sentencing as set forth

in 18 U.S.C. § 3553(a) after considering defendant’s substantial



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assistance    in   addition   to   the       previously   considered    advisory

recommendation of the Sentencing Guidelines and all the factors

identified at 18 U.S.C. § 3553(a)(1)-(7).             All other components of

the   previously    imposed   sentence        (Doc.   #215)   shall   remain   as

imposed.

      Accordingly, it is now

      ORDERED:

      1.   The Motion by the United States for Reduction in Sentence

Pursuant to Fed. R. Crim. P. 35(b) (Doc. #302) is GRANTED as set

forth above.

      2.   The Clerk of the Court shall enter an amended judgment

reducing the sentence imposed to 51 months imprisonment as to the

above-named defendant, and otherwise leaving all other components

of the sentence as imposed in the previously entered judgment.

      DONE AND ORDERED at Fort Myers, Florida this                9th    day of

September, 2014.




Copies:
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